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                                                                           United States District Court
                                                                             Southern District of Texas
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                            ENTERED
                              HOUSTON DIVISION                              September 23, 2021
                                                                             Nathan Ochsner, Clerk

UNITED STATES OF AMERICA                      §
                                              §
versus                                        §        Case No. 4:21−mj−02016
                                              §
Ricardo Cesar Guedes                          §


                   ORDER OF DETENTION PENDING HEARING


     A hearing in this case is scheduled as follows:

                                   Detention Hearing
                             September 24, 2021 at 10:00 AM
                                        by video

       IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody
of the United States Marshal or any other authorized officer. The custodian must bring the
defendant to the hearing at the time, date, and place set forth above.


Date: September 23, 2021
